            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )
      vs.                               )       No.10-03016-03-CR-S-BCW
                                        )
LARRY STEVEN ADUDDLE,                   )
                                        )
                       Defendant.       )


                     REPORT AND RECOMMENDATION
                CONCERNING PLEA OF NOLO CONTENDERE


      The Defendant, by consent, has appeared before me pursuant

to Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and

has entered a plea of nolo contendere to Count Twenty of the

Superseding Indictment filed on March 3, 2011.                  I consented to

the    plea,   over    the     government’s     opposition,        and    after

considering the parties’ views and the public interest in the

effective administration of justice. After cautioning and

examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the nolo

contendere plea was knowledgeable and voluntary, and that the

offense charged is supported by a factual basis for each of the

essential elements of the offense.            I therefore recommend that

the plea of nolo contendere be accepted and that the Defendant


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be adjudged guilty and have sentence imposed accordingly.



Date:   February 4, 2014             /s/ David P. Rush
                                     DAVID P. RUSH
                                     UNITED STATES MAGISTRATE JUDGE



                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall
bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District
Judge. 28 U.S.C. '636(b)(1)(B).




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